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                              Description                                                                                                  Address                                                                                                                  Email                  Method of Service
10644579 Canada Inc                            5592 Ferrier St                               Mount Royal, QC H4P 1M2                                 Canada                                                                                 alco@dynamite.ca                              Email
Agence du Revenu du Quebec                     Attn: Daniel Cantin                           3800 de Marly Street                                    Sector 528                                     Quebec, QC H3B 4W5             Canada   danielcantine@revenuequebec.ca                Email
Attorney General of Canada                     Procureur General du Canada                   Tour est 5e etage, Complex Guy‐Favreau                  200 boul. Rene‐Levesque Ouest                  Montreal, QC H2Z 1X4           Canada   notificationPGC‐AGC.civil@justice.gc.ca       Email
Attorney General of Quebec                     Ministere de la Justice du Quebec             Edifice Louis‐Philppe‐Pigeon                            1200 Route de l'Eglise                         Quebec, QC G1V 4M1             Canada   informations@justice.gouv.qc.ca               Email
Bank Of Montreal                               105 St‐Jacques St, 3rd Fl                     Montreal, QC H2Y 1L6                                    Canada                                                                                                                               Overnight Mail
Canada Revenue Agency                          Department of Justice Canada                  Attn: Chantal Comtois                                   200 René‐Lévesque Blvd W, 9th Fl, East Tower   Montreal, QC H2Z 1X4           Canada   chantal.comtois@justice.gc.ca                 Email
Canada Revenue Agency                                                                                                                                                                                                                       NotificationPGC‐AGC.FiscalTax@justice.gc.ca   Email
Chase Paymentech Solutions, Inc.               c/o Services Blakes Quebec, Inc               3000‐1 Pl Ville‐Marie, Ste 3000                         Montreal, QC H3B 4N8                           Canada                                                                                Overnight Mail
Deloitte Restructuring Inc                     Attn: Pierre Laporte                          Place de la Cité, Tour Cominar                          2640 Laurier Blvd, Ste 1700                    Quebec, QC G1V 5C2             Canada   pilaporte@deloitte.ca                         Email
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Deloitte Restructuring Inc                     Attn: Jean‐François Boucher                   1190 Des Canadiens‐de‐Montreal Ave, Ste 500             Montreal, QC H3B 0M7                           Canada                                  jeaboucher@deloitte.ca                        Email
Deloitte Restructuring, Inc                    1190 Des Canadiens‐de‐Montreal Ave, Ste 500   Montreal, QC H3B 0M7                                    Canada                                                                                                                               Overnight Mail
Dentons Canada                                 Attn: Ari Sorek/Roger Simard/Charlotte Dion   1 Pl Ville Marie                                        Bureau 3900                                    Montreal, QC H3B 4M7           Canada   ari.sorek@dentons.com                         Email
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Federation Des Caisses Desjardins Du Que´Bec   1170 Peel St, Ste 300                         Montreal, QC H3B 0A9                                    Canada                                                                                                                               Overnight Mail
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Internal Revenue Service                       Attn: Centralized Insolvency Operation        P.O. Box 7346                                           Philadelphia, PA 19101‐7346                                                                                                          Overnight Mail
Internal Revenue Service                       Attn: Centralized Insolvency Operation        2970 Market St                                          Ms 5‐Q30.133                                   Philadelphia, PA 19104‐5016                                                           Overnight Mail
McCarthy Tétrault LLP                          Attn: Alain Tardif/ Gariel Faure              Attn: Francois Toupin/ Sarah‐Maude Demers               1000 De La Gauchetiere St W                    Montreal, QC H3B 0A2           Canada   atardif@mccarthy.ca                           Email
McCarthy Tétrault LLP                          Attn: Jocelyn T. Perreault                                                                                                                                                                   jperreault@mccarthy.ca                        Email
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Norton Rose Fullbright Canada LLP              Attn: Guillaume Michaud                                                                                                                                                                      guillaume.michaud@nortonrosefulbright.com     Email
Office Of The Attorney General                 California Dept of Justice                    P.O. Box 944255                                         Sacramento, CA 95814                                                                                                                 Overnight Mail
Office Of The Attorney General                 Attn: Bankruptcy Notices                      Consumer Law Section                                    455 Golden Gate Ave, Ste 11000                 San Francisco, CA 94102‐7004                                                          Overnight Mail
Office Of The Attorney General                 State of Florida                              Pl‐01 the Capitol                                       Tallahassee, FL 32399‐1050                                                                                                           Overnight Mail
Office Of The Attorney General                 40 Capitol Sq SW                              Atlanta, GA 30334                                                                                                                                                                            Overnight Mail
Office Of The Attorney General                 100 W Randolph St                             Chicago, IL 60601                                                                                                                                                                            Overnight Mail
Office Of The Attorney General                 500 S 2nd St                                  Springfield, IL 62701                                                                                                                                                                        Overnight Mail
Office Of The Attorney General                 601 S University Ave                          Carbondale, IL 62901                                                                                                                                                                         Overnight Mail
Office Of The Attorney General                 120 SW 10th Ave, 2nd Fl                       Topeka, KS 66612                                                                                                                                                                             Overnight Mail
Office Of The Attorney General                 700 Capitol Ave, Ste 118                      Frankfort, KY 40601                                                                                                                                                                          Overnight Mail
Office Of The Attorney General                 525 W Ottawa St                               P.O. Box 30212                                          Lansing, MI 48909                                                                      miag@michigan.gov                             Email
Office Of The Attorney General                 445 Minnesota St, Ste 1400                    St Paul, MN 55101‐2131                                                                                                                                                                       Overnight Mail
Office Of The Attorney General                 9001 Mail Service Ctr                         Raleigh, NC 27699‐9001                                                                                                                                                                       Overnight Mail
Office Of The Attorney General                 Rj Hughes Justice Complex                     25 Market St, Box 080                                   Trenton, NJ 08625‐0080                                                                                                               Overnight Mail
Office Of The Attorney General                 The Capitol                                   Albany, NY 12224‐0341                                                                                                                                                                        Overnight Mail
Office Of The Attorney General                 313 NE 21st St                                Oklahoma City, OK 73105                                                                                                                                                                      Overnight Mail
Office Of The Attorney General                 Oregon Dept of Justice                        1162 Court St NE                                        Salem, OR 97301‐4096                                                                                                                 Overnight Mail
Office Of The Attorney General                 P.O. Box 12548                                Austin, TX 78711‐2548                                                                                                                                                                        Overnight Mail
Office Of The Attorney General                 1125 Washington St SE                         P.O. Box 40100                                          Olympia, WA 98504‐0100                                                                                                               Overnight Mail
Office Of The U.S. Trustee                     Attn: T. Patrick Tinker                       844 King St, Ste 2207                                   P.O. Box 35                                    Wilmington, DE 19801                    patrick.tinker@usdoj.gov                      Email
Paysafe Merchant Services, Inc.                3500 De Maisonneuve Blvd W                    Westmount, QC H3B 4N8                                   Canada                                                                                                                               Overnight Mail




In re: GROUPE DYNAMITE INC., et al.,                                                                                                                  1
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Securities And Exchange Commision                            100 F St Ne                                   Washington, DC 20549                                                                                                                                            Overnight Mail
Syrus Reputation                                             Attn: Alain Bergeron/ Audrey Marcil‐Labelle   Attn: Constance Leonard‐Tessier/ Myriam Crevier       300 Leo‐Pariseau St, 18th Fl   Montreal, QC H2X 4B3        Canada   abergeron@syrusreputation.com         Email
Syrus Reputation                                             Attn: Myriam Crevier                                                                                                                                                    mcrevier@syrusreputation.com          Email
Syrus Reputation                                             Attn: Constance Leonard‐Tessier                                                                                                                                         cleonardtessier@syrusreputation.com   Email
Syrus Reputation                                             Attn: Audrey Marcil‐Labelle                                                                                                                                             amarcillabelle@syrusreputation.com    Email
The Toronto Dominion Bank                                    1350 Rene‐Levesque Blvd W, 7th Fl             Montreal, QC H3G 1T4                                  Canada                                                                                                    Overnight Mail
The United States Attorney'S Office For The District Of De   Attn: David C. Weiss                          1007 Orange St, Ste 700                               P.O. Box 2046                  Wilmington, DE 19899‐2046                                                  Overnight Mail
U.S. Customs And Border Protection                           1300 Pennsylvania Ave NW                      Washington, DC 20229                                                                                                                                            Overnight Mail
U.S. Customs And Border Protection                           Attn: Joy Marie Virga                         90 K St NE, 10th Fl                                   Washington, DC 20229‐1177                                           joymarie.virga@cbp.dhs.gov            Email




In re: GROUPE DYNAMITE INC., et al.,                                                                                                                              2
